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                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                   (ATHENS DIVISION)

 CERTUSBANK, N.A., as successor by
 assignment to FIRST GEORGIA
 BANKING COMPANY,

            Plaintiff,                              CIVIL ACTION
                                                    NO. 3:12-cv-00046-CDL
 v.



 MLJJ PROPERTIES, LLC,
 MARTIN J. MULLIGAN, and
 LINDA D. CHAMBERLIN,

            Defendants.



          DEFENDANTS' RESPONSE IN OPPOSITION TO PLAINTIFF'S
                 MOTION FOR SUMMARY JUDGMENT


           Defendants MLJJ Properties, LLC, Martin J. Mulligan and Linda D.

Chamberlin ("Defendants" ), pursuant to Rule 56 of the Federal Rules of Civil

Procedure and Local Rule 56, MDGa., hereby file their collective response in

opposition to Plaintiffs Motion for Summary Judgment [Doc. No. 21] as set forth

below.


           In support of their opposition brief, Defendants rely upon (i) their response

to Plaintiffs Statement of Material Facts, (ii) the Affidavit of Martin J. Mulligan

("Mulligan Aff"), and (iii) all other matters of record.




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                                     Introduction


           Defendants do not dispute that they executed certain loan documents in

favor of non-party First Georgia Banking Company ("First Georgia") on or about

January 14, 2011. Those 2011 loan documents were modifications and/or renewals

of prior loan documents dating back to May of 2009, the time at which loan

proceeds were disbursed to Defendant MLJJ, LLC ("MLJJ").

           Plaintiffs Motion for Summary Judgment highlights two genuine issues of

material fact, both of which require the denial of Plaintiff s Motion. In particular,

material issues of genuine fact exist as to whether: (i) Plaintiff is the assignee of

the loan documents at issue; and (ii) Plaintiff can prove the amount of any damages

pursuant to the loan documents.         As explained below, Plaintiffs Motion for

Summary Judgment must be denied because Plaintiff has failed to demonstrate

through proper and/or admissible evidence (i) that it has standing to enforce the

loan documents, and (ii) the amounts owing pursuant to the loan documents.

                          Argument and Citation to Authority


          Before hammering Defendants with a judgment for more than $380,000.00,

Plaintiffs are obligated to set forth admissible evidence of certain material facts.

As the record currently stands, Plaintiff has failed to show that the loan documents

at issue were assigned to Plaintiff and/or that Plaintiff has standing to bring suit on




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the loan documents at issue. Plaintiff also has failed to submit admissible evidence


of how its damages were calculated pursuant to the loan documents at issue.

           A. Plaintiff Has Failed to Demonstrate Through Proper Evidence that It
              Has Standing to Enforce the Loan Documents.

           Plaintiffs entire basis for standing in this lawsuit is a document entitled

"Assignment of Loan Documents," which is attached to the Affidavit of Tom

Crawford (the "Crawford Aff"). [Doc. No. 21-4.] Most notably, the "Assignment

of Loan Documents" was executed by (i) Paul R. Sparks, as the "Executive Vice

President" of the purported assignor, the Federal Deposit Insurance Corporation

("FDIC"); and (ii) Paul R. Sparks as the "Executive Vice President" of the

purported assignee, Plaintiff. Id. In other words, Paul R. Sparks executed the

single-most important document in the record as the purported authorized

signatory for both the assignor and the assignee. Id. The record is devoid of any

evidence demonstrating that Mr. Sparks was authorized, in November of 2011 or at

any other time prior to the initiation of this lawsuit, to transfer and assign the loan

documents at issue from the FDIC to Plaintiff. This omission from the record, as

well as the inherent conflict-of-interest presented by Mr. Sparks' dual-dealing,

raises a material issue of fact.


          The "Assignment of Loan Documents," on its face, references a Limited

Power of Attorney that is supposed to be attached to the document as "Exhibit B."

[Crawford Aff, App. 3; Doc. No. 21-4] In reality, the summary judgment record

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is devoid of an "Exhibit B" or a Limited Power of Attorney. Similarly, the real

estate records of Greene County, Georgia, in which the "Assignment of Loan

Documents" is filed of record, does not contain a Limited Power of Attorney or

any other document authorizing Tom Crawford to assign documents from the

FDIC to his employer, CertusBank. (Id.) The absence of any evidence authorizing

the assignment of the loan documents at issue - or otherwise demonstrating that

Plaintiff holds title in the loan documents - requires that Plaintiffs Motion for

Summary Judgment be denied.

           B. Plaintiff Has Failed to Present Admissible Evidence of the Alleged
              Indebtedness Owing Pursuant to the Loan Documents.

          "A court may only consider admissible evidence in ruling on a motion for

summary judgment." Wells Fargo Bank, N.A. v. SFPD IL LLC, Civ. Action No.

1:11-CV-04001-JEC, 2013 U.S. Dist. LEXIS 18314, *9 (N.D. Ga. Feb. 12, 2013)

(citing Fed. R. Civ. P. 56; Mersch v. City of Dallas, 207 F.3d 732, 734-35 (5th Cir.

2000). "In order for the business records exception to the hearsay rule to apply, it

must be shown that '(A) the record was made at or near the time [of the event] by .

. . [a person] with knowledge; (B) the record was kept in the course of a regularly

conducted activity of the business . . . [and that the] (C) making the record was a

regular practice of that activity.'"    Id. (quoting Fed. R. Evid. 803(6)). These

conditions can be 'shown by the testimony of the custodian or another qualified

witness.'" Id.


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           Plaintiffs only purported "evidence" regarding the calculation of damages

constitutes inadmissible hearsay. Specifically, despite allegedly acquiring title to

the Note in November of 2011, Plaintiff attempts to introduce through the affidavit

of its Senior Vice President, Tom Crawford, a "loan history statement" dating back

to May 22, 2009.l Mr. Crawford is neither the custodian of the "loan payment

statement" or a qualified witness. In particular, Mr. Crawford fails to explain in

his Affidavit how a Bank chartered in 2011 possibly could have prepared or

maintained business records in the regular course of business in 2009.            Mr.

Crawford does not state in his Affidavit that he was employed by First Georgia

Banking Company and/or the FDIC during the 30-month period between 2009 and

2011, or that he is personally familiar with the record-keeping procedures of those

entities.


           Rather than explaining how an entity that was not even chartered until 2011

generated a "loan history statement" dating back to 2009, Mr. Crawford states in

summary fashion that the payment histories were "made and prepared in the

regular course of business and operations of Plaintiff; (ii) made at or near the

1      Oddly, Plaintiff has not presented a single loan document pre-dating 2011 or
otherwise acknowledged the pre-2011 history of the loan in moving for summary
judgment. Notably, the alleged "business record" offered by Plaintiff does not
even reference First Georgia Banking Company, the entity that held the Note from
2009 until at least 2011. Instead, the document, by its express terms, apparently
was generated, prepared and printed by "CERTUSBANK NA," the Plaintiff in this
lawsuit. CertusBank was not chartered until 2011, raising serious questions about
the origin and authenticity of Plaintiffs purported "business records."

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times of the transactions or actions to which they refer and (iii) made and

prepared by individuals with knowledge of the transactions or actions referenced

therein." [Doc. No. 21-1 at ^ 24 (emphasis supplied)] In the same Affidavit, Mr.

Crawford expressly acknowledges that his testimony is based upon his "personal

knowledge as a bank officer of Plaintiff." [Id at ^ 22 (emphasis supplied.)]

Based on Plaintiffs purported 2011 acquisition of loan documents originating in

2009, the insufficiency of Mr. Crawford's affidavit testimony is indisputable.

            As a matter of law, the purported "loan history statement" attached to Tom

Crawford's Affidavit as Appendix 1 constitutes inadmissible hearsay. See First

Citizens Bank and Trust Co. v. Hwv 81 Venture, LLC, Civ. Action No. l:10-cv-

02126-JEC, 2012 U.S. Dist. LEXIS 30353, at *15 (N.D. Ga. Mar. 6, 2012)

(holding that an assignee bank officer's original affidavit regarding a loan payment

history did not provide a foundation for admissible business records where the

affiant "fail[ed] to demonstrate how he, an officer of plaintiff, would have any

knowledge of the business practices of [the predecessor bank], or of how its

records were generated or maintained"); see also Webb v. Midland Credit

Management, Inc., No. 11 C 5111, 2012 U.S. Dist. LEXIS 80006, at *14 (N.D. 111.

May 31, 2012) (declining to admit assignee debt collector's account documents

under the business record exception to the hearsay rule because the assignee's




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affiant was "not qualified to testify as to the process by which [the assignee's

successors-in-interest] created and maintained" such documents).

           In the present case, Mr. Crawford simply fails to demonstrate how he, as an

officer of Plaintiff, possesses any knowledge of how the payment records for this

loan were generated or maintained by Plaintiffs predecessors prior to November

of 2011. Even assuming arguendo that the loan documents were properly assigned

to Plaintiff in November of 2011, Plaintiff could not and did not maintain any

records relating to the loan in the regular course of business between May 22, 2009

and November of 2011. In other words, 42 of the 49 transactions appearing on the

"loan history statement" occurred prior to Plaintiffs purported assignment of the

loan documents. Accordingly, Mr. Crawford lacks personal knowledge of how

those forty-two transactions predating November 2011 were recorded and

maintained. See First Citizens Bank and Trust Co., 2012 U.S. Dist. LEXIS 30353

at *15. For the foregoing reasons, Plaintiff has failed to lay a proper foundation to

admit the "loan payment history" under the business records exception to the

hearsay rule.

           Similarly, the "loan payment statement" attached to Mr. Crawford's

Affidavit as Appendix 2 is nothing more than a summary of the inadmissible "loan

history statement" attached to the Affidavit as Appendix 1. As the underlying

document is inadmissible hearsay, the self-serving summary generated by Plaintiff



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solely for purposes of this litigation also is inadmissible. See Fed. R. Evid. 1006;

United States v. Johnson, 594 F. 2d 1253, 1255 (9th Cir. 1979) (holding that "the

proponent of the summary must establish that the underlying materials upon which

the summary is based are admissible in evidence.") Stated differently, Plaintiff has

not introduced any admissible evidence of its alleged damages in this lawsuit.

                                        Conclusion


           In support of its Motion for Summary Judgment, Plaintiff has failed to

satisfy its burden on two critical issues. First, Plaintiff has not demonstrated that it

is the assignee of the loan documents at issue and the proper party to enforce such

documents. Secondly, Plaintiff has failed to present any admissible evidence of

the amounts allegedly owing pursuant to the loan documents. Because genuine

issues of material fact exist, Defendants respectfully request that Plaintiffs Motion

be denied.


           Respectfully submitted, this, the 26th day of April, 2013.

                                           HARTMAN SIMONS & WOOD LLP

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                             CERTIFICATE OF SERVICE



           I hereby certify that I have this day served counsel for the opposing party

with the foregoing by depositing a copy of same in the United States mail in an

envelope properly addressed to the following, with adequate postage thereon to

ensure proper delivery:

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           This 26th day ofApril, 2013.

                                             /s/ Jared M. Lina
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